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                                                      September 14, 2018
Via ECF
Hon. Ramon E. Reyes, Jr., U.S.M.J.
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

                       Re:     Gustavia Home, LLC v. East 93 Holdings LLC, et al.
                               Case No. 17-cv-4262 (ILG) (RER)

Dear Judge Reyes:

       The undersigned attorneys represent Defendant East 93 Holdings LLC (“Defendant”) in the
above-captioned action. This letter is respectfully submitted as a follow-up to the status conference
held on Thursday, September 6, 2018.

        As you may recall, at last week’s conference Your Honor inquired of the undersigned
whether the defenses asserted in Defendant’s Answer concerning Plaintiff’s compliance with
certain conditions precedent to commencing the instant action – namely the requirement to deliver
(i) a 90-day notice pursuant to N.Y. R.P.A.P.L. § 1304 and (ii) a notice of default as required by
the terms of the subject mortgage agreement – were pleaded following an inquiry into the facts or
were included merely as boilerplate defenses. The undersigned initially responded to the effect that
that such defenses were standard in New York foreclosure actions, but that the relevant factual
information was in the possession of Plaintiff.

        The undersigned now seeks to clarify the oral statement made at the conference inasmuch
as the undersigned failed to identify the factual basis for these defenses, notwithstanding that there
was indeed a factual basis for included these defenses in the Answer that were known to counsel at
the time of signing the pleading. It is respectfully submitted that the within clarification should
rectify any concerns the Court may have regarding the propriety of Defendant’s pleaded defenses.

         As an initial matter, the Court will note that Plaintiff filed several exhibits with its
Complaint, including but not limited to: (i) a document purported to be the subject mortgage
(Exhibit C to the Complaint, Doc. No. 1-3); (ii) documents purported to be Notices of Default dated
March 17, 2016 and appearing on SN Servicing Corporation letterhead (Exhibit F, Doc. No. 1-6);
and (iii) a document purported to be a 90-Day Notice, likewise dated March 17, 2016 and appearing
on SN Servicing Corporation letterhead (Exhibit G, Doc. No. 1-7).

      The first page of Mortgage Agreement explicitly identified the notice address for non-party
Borrower Padmawati Singh (“Borrower”) as “476 Hendrix Street, Brooklyn, New York 11207.”
(Mortgage, Doc. No. 1-3).
Berg & David PLLC                                                                             p. 2/2
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Further, and as noted in the undersigned’s letter dated August 13, 2018 seeking a pre-motion
conference, Section 24 of the Mortgage explicitly states: “any notice shall be given by delivering
it or by mailing it by first class mail to the appropriate party’s address on page 1 of this Security
Instrument, or to any other address designated in writing.” (Id.). While there are two documents
purported to be notices of default that were filed with the complaint (Doc. No. 1-6), neither such
notice is addressed to the Borrower at 476 Hendrix Street. Rather, one letter is addressed to the
Borrower at 662 East 93rd Street, the address of the mortgaged property, and one addressed to the
Borrower at 15016 Lefferts Blvd., Jamaica, NY 11420. As such, based upon the face of the
Complaint and its exhibits, Plaintiff failed to mail or otherwise deliver a notice of default to
Borrower at 476 Hendrix Street, as explicitly required by the terms of the Mortgage.

        Further, under state law, the 90-day notice “shall be sent by such lender, assignee (including
purchasing investor) or mortgage loan servicer to the borrower, by registered or certified mail and
also by first-class mail to the last known address of the borrower, and to the residence that is the
subject of the mortgage.” RPAPL § 1304(2). Again, while two documents purported to be 90-day
notices were filed with the complaint (Doc. No. 1-7), neither is addressed to 476 Hendrix Street,
but, were likewise addressed to 662 East 93rd Street, the address of the mortgaged property and to
15016 Lefferts Boulevard. Thus, on the face of the Complaint and its exhibits, Plaintiff failed to
mail the 90-day Notices to Borrower at 476 Hendrix Street. To the extent Plaintiff had actual
knowledge of a different address, Plaintiff’s actual knowledge in May 2016 is not a fact that
Defendant could have discovered upon a reasonable inquiry prior to filing the Answer.

        Moreover, as noted in the undersigned’s letter dated August 13, 2018, Defendant is entitled
to summary judgment due to Plaintiff’s non-compliance. Significantly, to date, Plaintiff has not
produced (i) any additional documents purported to be a notice of default or a 90-day notice other
than the aforementioned notices dated May 17, 2016, (ii) any documentary evidence that Borrower
provided Plaintiff with a written change of address pursuant to Section 24 of the Mortgage, nor (iii)
any documentary proof of mailing of either required notice to any address, whatsoever.

       Accordingly, it is respectfully submitted that the foregoing establish a sufficient factual
basis for asserting non-compliance with statutory and contractual conditions precedent as
affirmative defenses in Defendant’s Answer in compliance with Rule 11.

                                                      Respectfully Submitted,

                                                      BERG & DAVID, PLLC

                                                          / s / Shane   Wax
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